                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


 UNITED STATES OF AMERICA,                          )
                                                    )
 v.                                                 )   No.: 3:07-CR-126
                                                    )
 DANIEL SCHLEBEN                                    )


                             MEMORANUM AND ORDER


        This matter is before the court on the defendant’s pro se motion for early

 termination of supervised release [R. 102]. In support of his motion, defendant states that

 he has completed more than half of his time on supervised release; he has regularly

 completed his reports; and he has passed all drug screens. In addition, defendant reports

 that he has received permission to leave the Eastern District of Tennessee for work

 purposes. He has maintained at least one job and as many as three jobs since his release

 from prison. Defendant further reports that he has regained custody of his two sons, and

 has taken on coaching positions with community youth leagues.

        The probation office informs the court that defendant began his term of supervised

 release on February 17, 2012, and he has completed 30 months of the five-year term of

 supervised released ordered by the court. Defendant is 39 years old and lives with his

 two sons in Ten Mile, Tennessee. Defendant has been gainfully employed since his

 release from prison and has not incurred any arrests or violations while on supervision.

 All drug screens have been negative.        Therefore, his probation officer states that




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 defendant meets the general criteria for early termination. The Government has informed

 the court that it has no objection to defendant’s motion.

        Defendant pled guilty to conspiracy to distribute and possess with intent to

 distribute five kilograms or more of cocaine and 50 grams or more of crack cocaine. He

 was sentenced to 60 months imprisonment followed by five years of supervised release.

 The record shows that defendant has completed at least half of his ordered term of

 supervised release. Defendant moves for early termination of supervised release pursuant

 to 18 U.S.C. § 3583(e) which provides:

        The court may, after considering the factors set forth in section 3553(a)(1),
        (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(6), and (a)(7) –

        Terminate a term of supervised release and discharge the defendant
        released at any time after the expiration of one year of supervised release,
        pursuant to the provisions of the Federal Rules of Criminal Procedure
        relating to the modification of probation, if it is satisfied that such action is
        warranted by the conduct of the defendant released and the interest of
        justice.

 18 U.S.C. § 3583(e)(1).

        After carefully considering the requirements of the statute, the court finds that the

 relevant portions of 18 U.S.C. § 3583(a) support an early termination of defendant’s

 supervised release. In support of this determination, the court notes that defendant has

 completed 30 months of his term of supervised release and that defendant is in

 compliance with the conditions of his release. The court also notes that defendant has

 maintained steady employment since his release from prison; has not incurred any arrests

 or violations; and his drug screens have been negative. Defendant has regained custody

 of his two sons and is active in their community youth leagues. The Government does
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 not oppose the motion. Accordingly, because the requirements of 18 U.S.C. § 3583(e)(1)

 have been satisfied and in light of the lack of any objection by the Probation Office or the

 Government, the court finds defendant’s motion for early termination of supervised

 release well taken, and it is hereby GRANTED. Defendant’s term of supervised release

 is TERMINATED.

        The court commends the defendant for his efforts at rehabilitation and hopes that

 he continues to rebuild his life and be a good father to his sons.

        Enter:



                                            ____________________________________
                                            UNITED STATES DISTRICT JUDGE




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